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[Proposea’] Aa‘omeysfor Debtor

UNITED STATES BANKRUPTCY COURT
F()R THE DISTRICT OF NEVA])A

In re: Case No.: BK-S-l 8-10453-LED
U.S.A. DAWGS, INC., Chapter 11
Debtor. Date: February 8, 2018

Time: 11:00 a.n'l.

 

SUPPLEMENT TO OMNIBUS DECLARATION OF STEVEN MANN
IN SUPPORT OF DEBTOR’S CHAPTER 11 PETITION, FIRST DAY MOTI()NS,
AND EMPLOYMENT APPLICATION

I, Steven Mann, hereby declare as follows:

1. l am over the age of 18 and mentally competent and 1 make this Supplemental
declaration in support ofU.S.A. Dawgs, Inc.’S (“Q§Qip;”) Emergency Morian For Enay oflmerim
Approval Order Parsuam 10 Bankrupfcy Rule 4001([)) and LR 4001([)) (l) Pre[iminarily
Determining Extenr of Cash Collateral and Authorizing Use ofCash Collateral By Debror,' and (2)
Scheduling a Final Heariag to Determz'ne E)aent ofCash Collateral and Aurhorz'zz'ng Use ofCa,s'h
Col[ateral by Debtor [ECF No. 6] (the “Cash Collateral Motion”) and Debtor ’s Emergency Moa`on
for Order.‘ (I) Authorizing Debtor to Pay Wages, Salarz`es, Benefl`ts, and ther Emp£oyee

Obligations,' and (H) Autharfzing and Directing Financial Institutions to Honor and Process

 

 

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Checks and Transfers Related to Sach Oblz`gations [ECF No. 9] (the “Employee Wage Motion,”

 

and together With the Cash Collateral Motion, the “Mo_tion§”).‘

2. l have reviewed the United Sl‘ates Truslee ’S Omnibus Objeca`on to Debror’s Fz'rsr Day
Moa'ons [ECFNos. 6 & 9] [ECF No. 25]_

3. In response to the United States’ Trustee’s request for additional information regarding
the Wage Obligations and Employee Beneiit Contributions, attached hereto as Exhibit “1” is a true
and correct redacted2 summary of the employees and contractors and their requested pre-petition
Wages (the “Wage Chart”). The Wage Chart shows the total amounts to be paid to each employee §
or contractor, as Well as the associated tax and payroll obligations

4. Furthermore, the total amount of Employee Beneiits Contributions to be paid is
317,461.88, Which is comprised of the employees’ health insurance $8,402.52 of the $17,461.88
is for pre-petition health insurance for the employees The remaining amount, $9,059.36, is for
health insurance coverage that vvas billed pre-petition, but covers the post-petition period of
February l, 2018 through March 1, 2018. Win`le these amounts are for post-petition health
insurance benefits, because the amounts due vvere invoiced prior to the Petition Date, they are
included in the Wage Motion.

5. None of the proposed Wage Obligations payments are being paid to insiders. To be
clear, I and the other insiders have not sought payment on our pre-petition Wages that are
outstanding As the employee health insurance is a singular plan, employee insiders Will also
receive the benefit of maintaining the Debtor’s employee health insurance plan as insider benefits
cannot be separated for purposes of payment of the insurance premiums

6. l have also reviewed the Secured Creditor GemCap Lending I, LLC’S Opposition to

Emergency Moa`onfor Entry oflnrerim Approval Order Pursuant 10 Bankruptcj) Rale 400](12) and

 

l All capitalized, undefined terms shall have the meaning ascribed to them in the applicable Motion.

2 Debtor will have available at the hearing on the Motions an unredacted version of the Wage Chart for
review. However, in order to protect Sensitive employee information, the employee names have been
redacted in the filed version

 

 

 

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LR 4 001T (b),' (]) Preliminarily Deterrnining Exl‘ent ofCash Collateral and Autharizing Use ofCash
Callateral By Debtor,' and (2) Scheduling a Fz`nal Hearing to Determine Extent afCaSh Collateral
and Aathorizi'ng Use of Cash Collateral by Debtor; and (3) GemCap ’s Request for Adeqnate
Protection [ECF No- 28] (the “GernCap Opposition”) and the Declaratz`on of Rz'chard Elli's in
Suppart ofEmergency Moa`on for Entry of interim Approval Order Pursnant to Bankruptcy Rule
400](1)) and LR 4001(1)),' (]) Preliminardy Deterrnining Extent ofCash Collaleral and Authorizing
Use of Cash Collal‘eral By Debtor,' and (2) Scheduling a Fi`nal Hearing to Defermine Extent of
Cash Collateral and Authorizing Use ofCash Coll'ateral by Debtor; and (3) GemCap 's Requestfor
Adequare Proteca`on [ECF No. 30] (the “Ellis Declaration”).

7. Although Debtor disputes many statements made in the GemCap Objection and Ellis
Declaration, and Will address each appropriately in connection With the final cash collateral hearing,
Debtor feels it necessary to address certain of the misstatement immediately

8. First, Lender contends that Debtor has failed to demonstrate an ability to fund the Crocs
Litigation and that Debtor’s litigation counsel Was owed $109,755.65. §§ GemCap Objection, at
p. 16, ll. 7-10. This statement is misleading Debtor reached agreements With its litigation counsel
Well in advance of the Petition Date regarding the payment of amounts due, and has remained
current on obligations since that agreement With regard to the $109,755.65 cited by GemCapj
Debtor and its litigation counsel have agreed that such amount Will be paid upon the earlier of the
conclusion of the litigation or upon obtaining additional funding for the litigation

9. Second, the Budget attached as Exhibit 2 to the Motion is a true and correct copy of the
Budget l prepared in connection With Debtor’s management and accounting personnel.

10. Lender contends that a thirty percent dilution must be used for sales. g GemCap
Obj ection at p. 16, l. 25- p. 17, l. 10. Lender further contends that the failure to include such dilution
rate “renders Debtor’s Budget a fiction.” Lender ignores that the Budget is a cash budget, reflecting
amounts received, for Which any dilution has already been taken into account Stated otherwise,

Debtor’s Budget reflects the net revenue after taking into consideration costs of goods sold.

 

 

 

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11. Third, Lender claims that “Debtor has failed to sell any substantial portion of its
inventory in the last two (2) years and has no funds to buy any new inventory.” §e_e GemCap
Objection at pp. 17, ll. 11-12; Ellis Decl. 11 21. Quite to the contrary, Debtor has sold inventory of
$3,271,000, which translated into cash sales of over $9,000,000 over the past twelve-months

12. Fourth, Lender contends that “[s]ince the Default, no payment has been received by
GemCaph~from either the Guarantors or Debtor. § GemCap Objection at pp. 6, l. 8-9. Lender
defines the date of Default as December 31, 2017. § M. p. 5, l. 7-8. This statement is directly
contrary to GernCap’s own records which reflect that GemCap has been paid over $363,000 since
January l, 2018.

13. Fifth, Richard Ellis represents in the Ellis Decl. that “My concern on1y heightened when
1 reviewed the new forecast, a true and correct cap of which is attached to this Declaratian as
Exhibit “M'. ” §§ Ellis Decl. 11 33 (emphasis added). A true and correct copy of the actual forecast
that 1 provided to Mr. Ellis is attached hereto as Exhibit “2.” As can be noted, the document that
Mr. Ellis represents as a “true and correct copy” of the forecast has been manipulated and materially
altered to omit income, add additional line items, and manufacture a negative balance

14. Further, since January 23, 2018, between the date that the Lender sent the Notice of
Default and the Petition Date (a period of 8 days), based on Lender’s own records, Lender has
received payments of over $23,5 89 from Debtor’s account receivables

15. Despi`te the automatic stay, Since the Petz`tion Date, based on Lender’s own records,
Lender has collected over $29,400 of Debtor’s funds, which Lender has not turned over to Debtor.

16. Lender contends that all of Debtor’s cash and assets are its collateral. Until this is
determined, Debtor cannot pay its payroll, its rent, its suppliers, its taxes, or any of its other of its
necessary operating costs if the Cash Collateral Motion is not granted

17. Therefore, if the Cash Collateral Motion is not granted, Debtor will be forced to stop
operating Debtor’s employees will quit (several have already refused to work pending payment

of the outstanding pre-petition payroll), it will lose its customers, and its on-line service providers

 

 

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and vendors will terminate their relationships, which several have already threatened if operations
do not normalize.

l declare under penalty of perjury of the laws of the United States that these facts are true
to the best of my knowledge and belief.

DATED this gtktday of February, 2018.

 

 

STEVEN MANN

 

 

